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 4

 5   Attorney for: OSCAR CAMPOS-PADILLA

 6                               IN THE UNITED STATES DISTRICT COURT

 7                             FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                   ) Case No.: CR-S-07-248 WBS
                                                 )
10                Plaintiff,                     )
                                                 )
11         vs.                                   ) WAIVER OF PERSONAL APPEARANCE; ORDER
                                                 )
12   OSCAR CAMPOS-PADILLA, et al.,               )
                                                 )
13                Defendant                      )
                                                 )
14

15         The undersigned defendant, Oscar Campos-Padilla, hereby waives the right to be

16   present in person in open court upon the hearing of any motion or other proceeding in

17   this cause, including when the case is ordered set for trial, when a continuance is

18   ordered, and when any other action is taken by the court before trial except upon

19   impanelment of jury and trial itself.

20         The undersigned defendant hereby requests the court to proceed during every

21   absence of his which the court may permit pursuant to this waiver, and hereby agrees

22   that his interests will be deemed represented at all times by the presence of his

23   attorney the same as if the defendant himself were personally present in court, and

24   further agrees to be present in person in court when the jury is impaneled and the

25   trial is under way, or at any time it is ordered by the court.

26         The defendant further acknowledges that he has been informed of his rights

27   under Title 18 U.S.C. § 3161-3174 (The Speedy Trial Act) and authorizes his attorney

28   to set times and delays under that Act without his personal presence.




                                  Waiver of Personal Appearance- 1
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 1                                                Dated this March_18___, 2009

 2

 3
                                                              /s/ _________________
 4                                                            Oscar Campos-Padilla,
                                                              Defendant
 5

 6            I concur in Mr. Campos-Padilla’s decision to waive his presence at future

 7   proceedings.

 8                                                Dated this March_10___, 2009

 9

10
                                                              /s/_________________________
11                                                            PAUL B. MELTZER, Attorney
                                                              for Defendant
12

13            IT IS SO ORDERED.

14   Dated:    May 7, 2009

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                                  Waiver of Personal Appearance- 2
